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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 WESTERN DIVISION


UNITED STATES OF AMERICA


v.                                                    CRIMINAL NO. 5:06cr7DCB-JCS


KEITH PARKER


                                     ORDER OF DISMISSAL

       Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, and by leave of the Court

endorsed herein, the United States Attorney for the Southern District of Mississippi hereby dismisses

Counts 1 and 2 of the Indictment against KEITH PARKER, without prejudice.

                                                      DUNN LAMPTON
                                                      United States Attorney


                                              By:      s/ Richard T. Starrett
                                                      RICHARD T. STARRETT
                                                      Assistant U.S. Attorney
                                                      MS Bar No. 7800

       Leave of Court is granted for the filing of the foregoing

dismissal without prejudice.

       ORDERED this 16th day of June, 2006.



                                                      S/DAVID BRAMLETTE
                                                      UNITED STATES DISTRICT JUDGE
